201 F.2d 53
    AMALGAMATED ASS'N OF STREET, ELECTRIC RY., AND MOTOR COACH EMPLOYEES OF AMERICA, DIVISION NO. 1127, etc., et al.,v.SOUTHERN BUS LINES, Inc. (two cases).
    No. 13939.
    No. 13940.
    United States Court of Appeals Fifth Circuit.
    January 14, 1953.
    
      Evelyn Hunt Conner, Bay St. Louis, Miss., L. Barrett Jones, Jackson, Miss., Ben Stevens, Hattiesburg, Miss., for appellants.
      Robert C. Cannada, Jackson, Miss., Grove Stafford, Alexandria, La., for appellees.
      Before HUTCHESON, Chief Judge, and HOLMES and RIVES, Circuit Judges.
      HUTCHESON, Chief Judge.
    
    
      1
      When these two cases were here before, the appeals were from judgments dismissing the complaints on the merits for failure to state a cause of action.
    
    
      2
      Of the opinion that they should have been dismissed for want of jurisdiction, this court reversed the judgments and remanded the causes, with specific directions to dismiss them for want of jurisdiction.1
    
    
      3
      This time the appeals are from judgments entered not only in accordance with the law of the state as established on the former appeals, but in execution of, and in precise accord with, our mandates.
    
    
      4
      In such circumstances, unlike where judgments of reversal are general, appeals from the judgments entered on the mandates present nothing for our review. The appeals are, therefore, dismissed.2
    
    
      
        Notes:
      
      
        1
         5 Cir., 189 F.2d 219, at page 222
      
      
        2
         28 U.S.C.A. § 2106, note 390; Merrill v. National Bank, 5 Cir., 78 F. 208, and cases cited; Singer Mfg. v. Adams, 5 Cir., 185 F. 768; Seagraves v. Wallace, 5 Cir., 69 F.2d 163, at page 164
      
    
    